      Case 3:09-cr-00069-PAC          Document 630      Filed 10/12/11   Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NORTH DAKOTA
                            SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )   Criminal No. 3:09-cr-69-06
                     Plaintiff,             )
                                            )   MOTION TO DISMISS CASE
              v.                            )
                                            )
TAMMY LYNN HEID,                            )
                                            )
                     Defendant.             )

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure , the United

States of America, by Timothy Q. Purdon, United States Attorney for the District of

North Dakota, and Christopher C. Myers, Assistant United States Attorney, hereby

moves to dismiss the Indictment against defendant, Tammy Lynn Heid. The United

States respectfully requests leave of Court to file said dismissal, based upon the defendant

serving nearly all of the prison time imposed by this Court prior to the Eighth Circuit

Court of Appeals recently vacating her guilty plea; the defendant’s poor health and the

overall circumstances of this case.

       Dated October 11, 2011.

                                            TIMOTHY Q. PURDON
                                            United States Attorney


                                      By:   /s/ Christopher C. Myers
                                            CHRISTOPHER C. MYERS
                                            Assistant United States Attorney
                                            Quentin N. Burdick United States Courthouse
                                            655 First Avenue North - Suite 250
                                            Fargo, ND 58102-4932
                                            (701) 297-7400
                                            N.D. Bar Board ID No. 05317
                                            Attorney for United States
      Case 3:09-cr-00069-PAC       Document 630      Filed 10/12/11   Page 2 of 2




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA,               )
                                        )   Criminal No. 3:09-cr-69-06
                    Plaintiff,          )
                                        )   CERTIFICATE OF SERVICE
             v.                         )
                                        )
TAMARA LYNN HEID,                       )
                                        )
                    Defendant.          )

      I hereby certify that on October 12, 2011, the following document:

                            MOTION TO DISMISS CASE

was filed electronically with the Clerk of Court through ECF, and that ECF will send a
Notice of Electronic Filing (NEF) to the following:

   Dan L. Herbel
      herbellawfirm@yahoo.com




Dated: October 12, 2011.                s/Lori E. Daly
                                        LORI E. DALY
                                        Office of United States Attorney




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